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 1

 2
                              UNITED STATES DISTRICT COURT
 3
                                    DISTRICT OF NEVADA
 4
     FEDERAL TRADE COMMISSION,                  )
 5   Plaintiff,                                 )       Case No: 17-cv-02000-APG-GWF
                                                )
 6   v.                                         )
                                                )
 7   REVMOUNTAIN, LLC, a Nevada limited         )
     liability company,                         )       PRELIMINARY INJUNCTION WITH
 8                                              )       ASSET FREEZE, APPOINTMENT OF
     ROADRUNNER B2C, LLC, also d/b/a            )       RECEIVER, AND OTHER EQUITABLE
 9   REVGO, a Nevada limited liability company, )       RELIEF AS TO DEFENDANTS BLAIR
                                                )       MCNEA, JENNIFER JOHNSON, AND
10   WAVE ROCK, LLC, a Nevada limited           )       ENTITY DEFENDANTS
     liability company,                         )
11                                              )
     JUNIPER SOLUTIONS, LLC, a Nevada           )
12   limited liability company,                 )
                                                )
13   JASPER WOODS, LLC, a Nevada limited        )
     liability company,                         )
14                                              )
     WHEELER PEAK MARKETING, LLC, a             )
15   Nevada limited liability company,          )
                                                )
16   ROIRUNNER, LLC, a Nevada limited           )
     liability company,                         )
17                                              )
     CHERRY BLITZ, LLC, a Nevada limited        )
18   liability company,                         )
                                                )
19   FLAT IRON AVENUE, LLC, a Nevada            )
     limited liability company,                 )
20                                              )
     ABSOLUTELY WORKING, LLC, a Nevada )
21   limited liability company,                 )
                                                )
22   THREE LAKES, LLC, a Nevada limited         )
     liability company,                         )
23                                              )
     BRIDGE FORD, LLC, a Nevada limited         )
24   liability company,                         )
                                                )
25   HOW AND WHY, LLC, a Nevada limited         )
     liability company,                         )
26                                              )
     SPRUCE RIVER, LLC, a Nevada limited        )
27   liability company,                         )

28


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 1                                                 )
     TRIMXT, LLC, a Nevada limited liability       )
 2   company,                                      )
                                                   )
 3   ELATION WHITE, LLC, a Nevada limited          )
     liability company,                            )
 4                                                 )
     IVORYPRO, LLC, a Nevada limited liability     )
 5   company,                                      )
                                                   )
 6   DOING WHAT’S POSSIBLE, LLC, a                 )
     Nevada limited liability company,             )
 7                                                 )
     REVGUARD, LLC, a Colorado limited             )
 8   liability company,                            )
                                                   )
 9   REVLIVE!, LLC, a Colorado limited liability   )
     company,                                      )
10                                                 )
     BLUE ROCKET BRANDS, LLC, a                    )
11   Colorado limited liability company,           )
                                                   )
12   CONVERTIS, LLC, a Colorado limited            )
     liability company,                            )
13                                                 )
     CONVERTIS MARKETING, LLC, a                   )
14   Colorado limited liability company,           )
                                                   )
15   TURTLE MOUNTAINS, LLC, a Colorado             )
     limited liability company,                    )
16                                                 )
     BOULDER BLACK DIAMOND, LLC, a                 )
17   Colorado limited liability company,           )
                                                   )
18   MINT HOUSE, LLC, a Colorado limited           )
     liability company,                            )
19                                                 )
     THUNDER AVENUE, LLC, a Colorado               )
20   limited liability company,                    )
                                                   )
21   UNIVERSITY & FOLSOM, LLC, a                   )
     Colorado limited liability company,           )
22                                                 )
     BOULDER CREEK INTERNET                        )
23   SOLUTIONS, INC., a Colorado corporation,      )
                                                   )
24   WALNUT STREET MARKETING, INC., a              )
     Colorado corporation,                         )
25                                                 )
     SNOW SALE, LLC, a Colorado limited            )
26   liability company,                            )
                                                   )
27                                                 )

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 1   BRAND FORCE, LLC, a Colorado limited      )
     liability company,                        )
 2                                             )
     WILD FARMS, LLC, a Colorado limited       )
 3   liability company,                        )
                                               )
 4   SALAMONIE RIVER, LLC, an Indiana          )
     limited liability company,                )
 5                                             )
     INDIGO SYSTEMS, LLC, an Indiana           )
 6   limited liability company,                )
                                               )
 7   NIGHT WATCH GROUP, LLC, an Indiana )
     limited liability company,                )
 8                                             )
     NEWPORT CROSSING, LLC, an Indiana         )
 9   limited liability company,                )
                                               )
10   GREENVILLE CREEK, LLC, an Indiana         )
     limited liability company,                )
11                                             )
     BROOKVILLE LANE, LLC, an Indiana          )
12   limited liability company,                )
                                               )
13   ANASAZI MANAGEMENT PARTNERS, )
     LLC, a Wyoming limited liability company, )
14                                             )
     HONEY LAKE, LLC, a Wyoming limited        )
15   liability company,                        )
                                               )
16   CONDOR CANYON, LLC, a Wyoming             )
     limited liability company,                )
17                                             )
     BRASS TRIANGLE, LLC, an Arizona           )
18   limited liability company,                )
                                               )
19   SOLID ICE, LLC, an Arizona limited        )
     liability company,                        )
20                                             )
     SANDSTONE BEACH, LLC, an Arizona          )
21   limited liability company,                )
                                               )
22   DESERT GECKO, LLC, an Arizona limited )
     liability company,                        )
23                                             )
     BLIZZARDWHITE, LLC, an Arizona            )
24   limited liability company,                )
                                               )
25   ACTION PRO WHITE, LLC, an Arizona         )
     limited liability company,                )
26                                             )
     FIRST CLASS WHITENING, LLC, an            )
27   Arizona limited liability company,        )

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                                                   3
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 1                                                 )
     SPARK WHITENING, LLC, an Arizona              )
 2   limited liability company,                    )
                                                   )
 3   TITANWHITE, LLC, an Arizona limited           )
     liability company,                            )
 4                                                 )
     DENTAL PRO AT HOME, LLC, an Arizona           )
 5   limited liability company,                    )
                                                   )
 6   SMILE PRO DIRECT, LLC, an Arizona             )
     limited liability company,                    )
 7                                                 )
     CIRCLE OF YOUTH SKINCARE, LLC, an             )
 8   Arizona limited liability company,            )
                                                   )
 9   DERMAGLAM, LLC, an Arizona limited            )
     liability company,                            )
10                                                 )
     SEDONA BEAUTY SECRETS, LLC, an                )
11   Arizona limited liability company,            )
                                                   )
12   BELLAATHOME, LLC, an Arizona limited          )
     liability company,                            )
13                                                 )
     SKINNYIQ, LLC, an Arizona limited             )
14   liability company,                            )
                                                   )
15   BODY TROPICAL, LLC, an Arizona limited        )
     liability company,                            )
16                                                 )
     BLAIR MCNEA, individually and as an           )
17   officer of REVGUARD, LLC,                     )
                                                   )
18   DANIELLE FOSS, individually and as an         )
     officer of BLUE ROCKET BRANDS, LLC            )
19   and CONVERTIS, LLC,                           )
                                                   )
20                         and                     )
                                                   )
21                                                 )
     an                                            )
22   JENNIFER JOHNSON, individually and as         )
     an officer of REVMOUNTAIN, LLC,
23
                            Defendants.
24

25

26          Plaintiff, the Federal Trade Commission (“FTC”), filed its Complaint for Permanent

27   Injunction and Other Equitable Relief pursuant to Section 13(b) of the Federal Trade
28


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 1   Commission Act (“FTC Act”), 15 U.S.C. § 53(b), and an Emergency Motion for Ex Parte
 2   Temporary Restraining Order pursuant to Federal Rule of Civil Procedure 65(b). On July 25,
 3
     2017, the Court granted the FTC’s Emergency Motion for Ex Parte Temporary Restraining
 4
     Order, including an order to show cause why a preliminary injunction should not issue, and
 5
     entered a Temporary Restraining Order (“TRO”). Upon consideration of the material submitted
 6

 7   by the parties and argument of counsel, the Court enters this Preliminary Injunction.

 8                                          FINDINGS OF FACT
 9
             The Court, having considered the Complaint, the Emergency Motion for Ex Parte
10
     Temporary Restraining Order and supplemental brief in support, declarations, exhibits, and
11
     memoranda filed in support thereof, and briefs, declarations, exhibits, and memoranda filed in
12

13   opposition thereto, and being otherwise advised, finds that:

14           A.      This Court has jurisdiction over the subject matter of this case, and there is good
15
     cause to believe that it will have jurisdiction over all parties hereto and that venue in this district
16
     is proper.
17
             B.      On July 24, 2017, the FTC filed its Complaint for Permanent Injunction and Other
18

19   Equitable Relief, an Emergency Motion for Ex Parte Temporary Restraining Order, and related

20   pleadings.

21           C.      On July 25, 2017, the Court entered the FTC’s Temporary Restraining Order with
22   Asset Freeze, Appointment of a Temporary Receiver, and Other Equitable Relief, and Order to
23
     Show Cause Why a Preliminary Injunction Should Not Issue. ECF No. 16.
24
             D.      The FTC has demonstrated a likelihood of success in showing that, in numerous
25
     instances, Defendants misrepresented the price of trial offers, charged consumers for products
26

27   they did not order or want, and enrolled consumers into continuity plans without their consent.

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 1          E.      There is good cause to believe that Defendants have engaged in and are likely to
 2   engage in acts or practices that violate Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and
 3
     Section 5 of the Restore Online Shoppers’ Confidence Act (“ROSCA”), 15 U.S.C. § 8404, and
 4
     that Plaintiff is therefore likely to prevail on the merits of this action. As demonstrated by
 5
     Defendants’ business records; consumer complaints and declarations; records of undercover
 6

 7   purchases; a report by a usability expert; corporate, banking and payment processing records;

 8   and the additional documentation filed in this matter, the FTC has established a likelihood of

 9   success in showing that Defendants deceived consumers by misrepresenting the price of personal
10   care products to obtain their credit card numbers, and then charging them $100 to $200 per
11
     month for additional products they did not order or want.
12
            F.      There is good cause to believe that immediate and irreparable harm will result
13
     from Defendants’ ongoing violations of the FTC Act and ROSCA unless Defendants continue to
14

15   be restrained and enjoined by order of this Court.

16          G.      There is good cause to believe that immediate and irreparable damage to the

17   Court’s ability to grant effective final relief for consumers will occur from the sale, transfer,
18
     destruction or other disposition or concealment by Defendants of their Assets or records, unless
19
     Defendants continue to be restrained and enjoined by order of this Court.
20
            H.      Good cause exists for appointing a permanent Receiver over the Receivership
21
     Entities and freezing Defendants’ Assets.
22

23          I.      Weighing the equities and considering the FTC’s likelihood of ultimate success

24   on the merits, a preliminary injunction order with Asset freeze, the appointment of a permanent
25   Receiver, and other equitable relief is in the public interest.
26

27

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 1          J.      No security is required of any agency of the United States for issuance of a
 2   preliminary injunction order. Fed. R. Civ. P. 65(c).
 3
                                               DEFINITIONS
 4
     For the purpose of this Preliminary Injunction, the following definitions shall apply:
 5
            A.      “Asset” means any legal or equitable interest in, right to, or claim to, any
 6

 7   property, wherever located and by whomever held.

 8          B.      “Billing Information” means any data that enables any person to access a

 9   customer's account, such as a credit card, checking, savings, share or similar account, utility bill,
10   mortgage loan account, or debit card.
11
            C.      “Charge,” “Charged,” or “Charging” means any attempt to collect money or
12
     other consideration from a consumer, including but not limited to causing Billing Information to
13
     be submitted for payment, including against the consumer’s credit card, debit card, bank account,
14

15   telephone bill, or other account.

16          D.      “Clear(ly) and conspicuous(ly)” means that a required disclosure is difficult to

17   miss (i.e., easily noticeable) and easily understandable by ordinary consumers, including in all of
18
     the following ways:
19
                    1.      In any communication that is solely visual or solely audible, the disclosure
20
            must be made through the same means through which the communication is presented.
21
            In any communication made through both visual and audible means, such as a television
22

23          advertisement, the disclosure must be presented simultaneously in both the visual and

24          audible portions of the communication even if the representation requiring the disclosure
25          is made in only one means;
26

27

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 1                  2.      A visual disclosure, by its size, contrast, location, the length of time it
 2          appears, and other characteristics, must stand out from any accompanying text or other
 3
            visual elements so that it is easily noticed, read, and understood;
 4
                    3.      An audible disclosure, including by telephone or streaming video, must be
 5
            delivered in a volume, speed, and cadence sufficient for ordinary consumers to easily
 6

 7          hear and understand it;

 8                  4.      In any communication using an interactive electronic medium, such as the

 9          Internet or software, the disclosure must be unavoidable;
10                  5.      The disclosure must use diction and syntax understandable to ordinary
11
            consumers and must appear in each language in which the representation that requires the
12
            disclosure appears;
13
                    6.      The disclosure must comply with these requirements in each medium
14

15          through which it is received, including all electronic devices and face-to-face

16          communications;

17                  7.      The disclosure must not be contradicted or mitigated by, or inconsistent
18
            with, anything else in the communication; and
19
                    8.      When the representation or sales practice targets a specific audience, such
20
            as children, the elderly, or the terminally ill, “ordinary consumers” includes reasonable
21
            members of that group.
22

23          4.      “Close Proximity” means immediately adjacent to the triggering representation.

24   In the case of advertisements disseminated verbally or through audible means, the disclosure
25   shall be made as soon as practicable after the triggering representation.
26

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 1          E.      “Entity Defendants” means RevMountain, LLC; RoadRunner B2C, LLC, d/b/a
 2   RevGo; Wave Rock, LLC; Juniper Solutions, LLC; Jasper Woods, LLC; Wheeler Peak
 3
     Marketing, LLC; ROIRunner, LLC; Cherry Blitz, LLC; Flat Iron Avenue, LLC; Absolutely
 4
     Working, LLC; Three Lakes, LLC; Bridge Ford, LLC; How and Why, LLC; Spruce River, LLC;
 5
     TrimXT, LLC; Elation White, LLC; IvoryPro, LLC; Doing What’s Possible, LLC; RevGuard,
 6

 7   LLC; RevLive!, LLC; Blue Rocket Brands, LLC; Convertis, LLC; Convertis Marketing, LLC;

 8   Turtle Mountains, LLC; Boulder Black Diamond, LLC; Mint House, LLC; Thunder Avenue,

 9   LLC; University & Folsom, LLC; Boulder Creek Internet Solutions, Inc.; Walnut Street
10   Marketing, Inc.; Snow Sale, LLC; Brand Force, LLC; Wild Farms, LLC; Salamonie River, LLC;
11
     Indigo Systems, LLC; Night Watch Group, LLC; Newport Crossing, LLC; Greenville Creek,
12
     LLC; Brookville Lane, LLC; Anasazi Management Partners, LLC; Honey Lake, LLC; Condor
13
     Canyon, LLC; Brass Triangle, LLC; Solid Ice, LLC; Sandstone Beach, LLC; Desert Gecko,
14

15   LLC; Blizzardwhite, LLC; Action Pro White, LLC; First Class Whitening, LLC; Spark

16   Whitening, LLC; Titanwhite, LLC; Dental Pro At Home, LLC; Smile Pro Direct, LLC; Circle of

17   Youth Skincare, LLC; DermaGlam, LLC; Sedona Beauty Secrets, LLC; Bellaathome, LLC;
18
     SkinnyIQ, LLC; Body Tropical, LLC; and each of their subsidiaries, affiliates, successors, and
19
     assigns.
20
            F.      “Defendant(s)” means Entity Defendants, Blair McNea, and Jennifer Johnson,
21
     individually, collectively, or in any combination.
22

23          G.      “Document” is synonymous in meaning and equal in scope to the usage of

24   “document” and “electronically stored information” in Federal Rule of Civil Procedure 34(a),
25   and includes writings, drawings, graphs, charts, photographs, sound and video recordings,
26
     images, Internet sites, web pages, websites, electronic correspondence, including e-mail and
27

28


                                                      9
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 1   instant messages, contracts, accounting data, advertisements, FTP Logs, Server Access Logs,
 2   books, written or printed records, handwritten notes, telephone logs, telephone scripts, receipt
 3
     books, ledgers, personal and business canceled checks and check registers, bank statements,
 4
     appointment books, computer records, customer or sales databases and any other electronically
 5
     stored information, including Documents located on remote servers or cloud computing systems,
 6

 7   and other data or data compilations from which information can be obtained directly or, if

 8   necessary, after translation into a reasonably usable form. A draft or non-identical copy is a

 9   separate document within the meaning of the term.
10          H.       “Electronic Data Host” means any person or entity in the business of storing,
11
     hosting, or otherwise maintaining electronically stored information. This includes, but is not
12
     limited to, any entity hosting a website or server, and any entity providing “cloud based”
13
     electronic storage.
14

15          I.      “Negative Option Feature” means, in an offer or agreement to sell or provide

16   any good or service, a provision under which the consumer’s silence or failure to take affirmative

17   action to reject a good or service or to cancel the agreement is interpreted by the seller or
18
     provider as acceptance or continuing acceptance of the offer.
19
            J.       “Receiver” means the Receiver appointed in Section XIII of this Order and any
20
     deputy receivers or agents that shall be named by the Receiver.
21
            K.      “Receivership Entities” means Entity Defendants as well as any other entity that
22

23   has conducted any business related to Defendants’ marketing of negative option offers, including

24   receipt of Assets derived from any activity that is the subject of the Complaint in this matter, and
25   that the Receiver determines is controlled or owned by any Defendant.
26

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                                                      10
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 1                                                  ORDER
 2                     I.      PROHIBITION AGAINST MISREPRESENTATIONS
 3           IT IS THEREFORE ORDERED that Defendants, Defendants’ officers, agents,
 4
     employees, and attorneys, and all other persons in active concert or participation with them, who
 5
     receive actual notice of this Order by personal service or otherwise, whether acting directly or
 6
     indirectly, in connection with the advertising, marketing, promoting, offering for sale, or sale of
 7

 8   any goods or services, are restrained and enjoined from misrepresenting or assisting others in

 9   misrepresenting, expressly or by implication, any material fact, including:

10           A.        That consumers will be charged only a nominal fee plus shipping and handling
11
     costs for a one-time shipment; and
12
             B.        That clicking through a website’s pages will complete a single transaction for a
13
     single product.
14

15   II.     REQUIRED DISCLOSURES RELATING TO NEGATIVE OPTION FEATURES
16           IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,
17
     attorneys, and all other persons in active concert or participation with any of them, who receive
18
     actual notice of this Order, whether acting directly or indirectly, are restrained and enjoined from
19
     obtaining Billing Information from a consumer for any online transaction involving the
20

21   advertising, marketing, promoting, offering for sale, or sale of any good or service that includes a

22   Negative Option Feature, without first disclosing Clearly and Conspicuously, and in Close

23   Proximity to where a consumer provides Billing Information, all material terms, including:
24
             A.        The total cost (or range of costs) the consumer will be charged;
25
             B.        That a consumer is automatically enrolled in a monthly negative option plan;
26

27

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                                                       11
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 1          C.      The extent to which the consumer must take affirmative action(s) to avoid any
 2   Charges; and
 3
            D.      That consumers who complete a transaction are purchasing two separate products
 4
     with separate monthly negative option plans.
 5

 6                     III.    OBTAINING EXPRESS INFORMED CONSENT
 7          IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,
 8   attorneys, and all other persons in active concert or participation with any of them, who receive
 9
     actual notice of this Order, whether acting directly or indirectly, are restrained and enjoined from
10
     using Billing Information to obtain payment from a consumer for any online transaction in
11
     connection with the advertising, marketing, promoting, offering for sale, or sale of any good or
12

13   service with a Negative Option Feature, unless Defendants first obtain the express informed

14   consent of the consumer before Charging the consumer’s credit card, debit cards, banks accounts

15   or other financial accounts for products or services.
16
              IV.         PROHIBITION ON RELEASE OF CUSTOMER INFORMATION
17
            IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,
18
     and attorneys, and all other Persons in active concert or participation with any of them, who
19
     receive actual notice of this Order, whether acting directly or indirectly, are hereby restrained
20

21   and enjoined from:

22          A.      Selling, renting, leasing, transferring, or otherwise disclosing, the name, address,

23   birth date, telephone number, email address, credit card number, bank account number, Social
24
     Security number, or other financial or identifying information of any person that any Defendant
25
     obtained in connection with any activity that pertains to the subject matter of this Order; and
26

27

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                                                      12
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 1          B.      Benefitting from or using the name, address, birth date, telephone number, email
 2   address, credit card number, bank account number, Social Security number, or other financial or
 3
     identifying information of any person that any Defendant obtained in connection with any
 4
     activity that pertains to the subject matter of this Order.
 5
            Provided, however, that Defendants may disclose such identifying information to a law
 6

 7   enforcement agency, to their attorneys as required for their defense, as required by any law,

 8   regulation, or court order, or in any filings, pleadings or discovery in this action in the manner

 9   required by the Federal Rules of Civil Procedure and by any protective order in the case.
10                                         V.      ASSET FREEZE
11
            IT IS FURTHER ORDERED that Defendants and their officers, agents, employees,
12
     and attorneys, and all other persons in active concert or participation with any of them, who
13
     receive actual notice of this Order, whether acting directly or indirectly, are hereby restrained
14
     and enjoined from:
15

16          A.      Transferring, liquidating, converting, encumbering, pledging, loaning, selling,

17   concealing, dissipating, disbursing, assigning, relinquishing, spending, withdrawing, granting a
18   lien or security interest or other interest in, or otherwise disposing of any Assets that are:
19
                    1.      owned or controlled, directly or indirectly, by any Defendant;
20
                    2.      held, in part or in whole, for the benefit of any Defendant;
21
                    3.      in the actual or constructive possession of any Defendant; or
22

23                  4.      owned or controlled by, in the actual or constructive possession of, or

24                          otherwise held for the benefit of, any corporation, partnership, Asset

25                          protection trust, or other entity that is directly or indirectly owned,
26                          managed or controlled by any Defendant.
27

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                                                       13
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 1          B.      Opening or causing to be opened any safe deposit boxes, commercial mail boxes,
 2   or storage facilities titled in the name of any Defendant or subject to access by any Defendant,
 3
     except as necessary to comply with written requests from the Receiver acting pursuant to its
 4
     authority under this Order;
 5
            C.      Incurring charges or cash advances on any credit or bank card issued in the name,
 6

 7   individually or jointly, of any Entity Defendant or any corporation, partnership, or other entity

 8   directly or indirectly owned, managed, or controlled by any Defendant or of which any

 9   Defendant is an officer, director, member, or manager. This includes any corporate bankcard or
10   corporate credit card account for which any Defendant is, or was on the date that this Order was
11
     signed, an authorized signor; or
12
            D.      Cashing any checks or depositing any money orders or cash received from
13
     consumers, clients, or customers of any Defendant.
14

15          E.      The Assets affected by this Section shall include: (1) all Assets of Defendants as

16   of July 25, 2017; and (2) Assets obtained by Defendants after July 25, 2017 if those Assets are

17   derived from any activity that is the subject of the Complaint in this matter or that is prohibited
18
     by this Order. This Section does not prohibit any transfers to the Receiver or repatriation of
19
     foreign Assets specifically required by this Order.
20
            F.      The FTC and Defendant Johnson shall file a joint motion regarding release of
21
     assets for Defendant Johnson’s living and designated creditor expenses, as agreed by the FTC
22

23   and Defendant Johnson and as ordered at the preliminary injunction hearing on August 29, 2017.

24          G.      Defendant McNea and the Entity Defendants may file a motion for release of
25   funds, including specific proposals for funds to be released and expenses to be paid. The FTC
26
     reserves the right to oppose any such motion.
27

28


                                                      14
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 1                VI.     DUTIES OF ASSET HOLDERS AND OTHER THIRD PARTIES
 2          IT IS FURTHER ORDERED that any financial or brokerage institution, Electronic
 3   Data Host, credit card processor, payment processor, merchant bank, acquiring bank,
 4
     independent sales organization, third party processor, payment gateway, insurance company,
 5
     business entity, or person who receives actual notice of this Order (by service or otherwise) and
 6
     that (a) holds, controls, or maintains custody, through an account or otherwise, of any Document
 7

 8   on behalf of any Defendant or any Asset that is: owned or controlled, directly or indirectly, by

 9   any Defendant; held, in part or in whole, for the benefit of any Defendant; in the actual or

10   constructive possession of any Defendant; or owned or controlled by, in the actual or
11
     constructive possession of, or otherwise held for the benefit of, any corporation, partnership,
12
     Asset protection trust, or other entity that is directly or indirectly owned, managed, or controlled
13
     by any Defendant; (b) holds, controls, or maintains custody of any Document or Asset associated
14
     with credits, debits or charges made on behalf of any Defendant, including reserve funds held by
15

16   payment processors, credit card processors, merchant banks, acquiring banks, independent sales

17   organizations, third party processors, payment gateways, insurance companies, or other entities;
18   or (c) has held, controlled, or maintained custody of any such Document, Asset, or account at
19
     any time since the date of entry of this Order shall:
20
            A.      Hold, preserve, and retain within its control and prohibit the withdrawal, removal,
21
     alteration, assignment, transfer, pledge, encumbrance, disbursement, dissipation, relinquishment,
22

23   conversion, sale, or other disposal of any such Document or Asset, as well as all Documents or

24   other property related to such Assets, except to the Receiver or by further order of this Court;

25          B.      Deny any Person, except the Receiver, access to any safe deposit box, commercial
26   mail box, or storage facility that is titled in the name of any Defendant, either individually or
27
     jointly, or otherwise subject to access by any Defendant;
28


                                                      15
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 1          C.      Immediately provide Plaintiff’s counsel and the Receiver, to the extent not
 2   already provided pursuant to the TRO, a sworn statement setting forth:
 3
                            1.       The identification number of each such account or Asset;
 4
                            2.       The balance of each such account, or a description of the nature
 5
                    and value of each such Asset as of the close of business on the day on which this
 6

 7                  Order is served, and, if the account or other Asset has been closed or removed, the

 8                  date closed or removed, the total funds removed in order to close the account, and

 9                  the name of the person or entity to whom such account or other Asset was
10                  remitted; and
11
                            3.       The identification of any safe deposit box, commercial mail box, or
12
                    storage facility that is either titled in the name, individually or jointly, of any
13
                    Defendant, or is otherwise subject to access by any Defendant; and
14

15          D.      Upon the request of Plaintiff’s counsel or the Receiver, promptly provide

16   Plaintiff’s counsel and the Receiver with copies of all records or other Documents pertaining to

17   such account or Asset, including originals or copies of account applications, account statements,
18
     signature cards, checks, drafts, deposit tickets, transfers to and from the accounts, including wire
19
     transfers and wire transfer instructions, all other debit and credit instruments or slips, currency
20
     transaction reports, 1099 forms, and all logs and records pertaining to safe deposit boxes,
21
     commercial mail boxes, and storage facilities.
22

23          E.      This Section does not prohibit any transfers to the Receiver or repatriation of

24   foreign Assets specifically required by this order.
25                                  VII.   FINANCIAL DISCLOSURES
26          IT IS FURTHER ORDERED that any Defendant that has not yet provided financial
27
     statements in accordance with Section VII of the TRO shall immediately prepare and deliver to
28


                                                       16
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 1   Plaintiff’s counsel and the Receiver completed financial statements on the forms attached to this
 2   Order as Attachment A (Financial Statement of Individual Defendant) for each Individual
 3
     Defendant, and Attachment B (Financial Statement of Entity Defendant) for each Entity
 4
     Defendant.
 5
                               VIII. FOREIGN ASSET REPATRIATION
 6
             IT IS FURTHER ORDERED that to the extent not already completed pursuant to the
 7

 8   TRO, each Defendant shall immediately:

 9           A.      Provide Plaintiff’s counsel and the Receiver with a full accounting, verified under

10   oath and accurate as of the date of this Order, of all Assets, Documents, and accounts outside of
11
     the United States which are: (1) titled in the name, individually or jointly, of any Defendant; (2)
12
     held by any person or entity for the benefit of any Defendant or for the benefit of any
13
     corporation, partnership, Asset protection trust, or other entity that is directly or indirectly
14
     owned, managed, or controlled by any Defendant; or (3) under the direct or indirect control,
15

16   whether jointly or singly, of any Defendant;

17           B.      Take all steps necessary to provide Plaintiff’s counsel and Receiver access to all
18   Documents and records that may be held by third parties located outside of the territorial United
19
     States of America, including signing the Consent to Release of Financial Records appended to
20
     this Order as Attachment C;
21
             C.      Transfer to the territory of the United States all Documents and Assets located in
22

23   foreign countries which are: (1) titled in the name, individually or jointly, of any Defendant; (2)

24   held by any person or entity for the benefit of any Defendant or for the benefit of any

25   corporation, partnership, asset protection trust, or other entity that is directly or indirectly owned,
26   managed, or controlled by any Defendant; or (3) under the direct or indirect control, whether
27
     jointly or singly, of any Defendant; and
28


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 1             D.    The same business day as any repatriation, (1) notify the Receiver and counsel for
 2   Plaintiff of the name and location of the financial institution or other entity that is the recipient of
 3
     such Documents or Assets; and (2) serve this Order on any such financial institution or other
 4
     entity.
 5
                        IX.     NON-INTERFERENCE WITH REPATRIATION
 6
               IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,
 7

 8   and attorneys, and all other Persons in active concert or participation with any of them, who

 9   receive actual notice of this Order, whether acting directly or indirectly, are hereby preliminarily

10   restrained and enjoined from taking any action, directly or indirectly, which may result in the
11
     encumbrance or dissipation of foreign Assets, or in the hindrance of the repatriation required by
12
     this Order, including, but not limited to:
13
               A.    Sending any communication or engaging in any other act, directly or indirectly,
14
     that results in a determination by a foreign trustee or other entity that a “duress” event has
15

16   occurred under the terms of a foreign trust agreement until such time that all Defendants’ Assets

17   have been fully repatriated pursuant to this Order; or
18             B.    Notifying any trustee, protector or other agent of any foreign trust or other related
19
     entities of either the existence of this Order, or of the fact that repatriation is required pursuant to
20
     a court order, until such time that all Defendants’ Assets have been fully repatriated pursuant to
21
     this Order.
22

23                               X.      CONSUMER CREDIT REPORTS

24             IT IS FURTHER ORDERED that Plaintiff may obtain credit reports concerning any

25   Defendants pursuant to Section 604(a)(1) of the Fair Credit Reporting Act, 15 U.S.C.
26   § 1681b(a)(1), and that, upon written request, any credit reporting agency from which such
27
     reports are requested shall provide them to Plaintiff.
28


                                                       18
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 1                                XI.   PRESERVATION OF RECORDS
 2          IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,
 3   and attorneys, and all other Persons in active concert or participation with any of them, who
 4
     receive actual notice of this Order, whether acting directly or indirectly, are hereby preliminarily
 5
     restrained and enjoined from:
 6
            A.      Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,
 7

 8   transferring, or otherwise disposing of, in any manner, directly or indirectly, Documents that

 9   relate to: (1) the business, business practices, Assets, or business or personal finances of any

10   Defendant; (2) the business practices or finances of entities directly or indirectly under the
11
     control of any Defendant; or (3) the business practices or finances of entities directly or
12
     indirectly under common control with any other Defendant; and
13
            B.      Failing to create and maintain Documents that, in reasonable detail, accurately,
14
     fairly, and completely reflect Defendants’ incomes, disbursements, transactions, and use of
15

16   Defendants’ Assets.

17                         XII.     REPORT OF NEW BUSINESS ACTIVITY
18          IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,
19
     and attorneys, and all other persons in active concert or participation with any of them, who
20
     receive actual notice of this Order, whether acting directly or indirectly, are hereby preliminarily
21
     restrained and enjoined from creating, operating, or exercising any control over any business
22
     entity, whether newly formed or previously inactive, including any partnership, limited
23

24   partnership, joint venture, sole proprietorship, or corporation, without first providing Plaintiff’s

25   counsel and the Receiver with a written statement disclosing: (1) the name of the business
26   entity; (2) the address and telephone number of the business entity; (3) the names of the business
27

28


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 1   entity’s officers, directors, principals, managers, and employees; and (4) a detailed description of
 2   the business entity’s intended activities.
 3
                                            XIII.    RECEIVER
 4
            IT IS FURTHER ORDERED that Joshua Teeple, the Temporary Receiver named in the
 5
     TRO, is appointed as permanent Receiver of the Receivership Entities with full powers of an
 6
     equity receiver. The Receiver shall be solely the agent of this Court in acting as Receiver under
 7

 8   this Order.

 9          The Receiver shall be vested with, and is authorized, directed and empowered to exercise,

10   all of the power of the Receivership Entities, their officers, directors, shareholders, members,
11
     general partners, or persons who exercise similar powers and perform similar duties; and that the
12
     Receivership Entities, their officers, directors, shareholders, members, general partners, agents,
13
     employees, representatives, successors in interest, attorneys in fact, and all persons acting in
14
     concert or participating with them, are hereby divested of, restrained and barred from exercising
15

16   any of the powers vested herein in the Receiver.

17                        XIV. DUTIES AND AUTHORITY OF RECEIVER
18          IT IS FURTHER ORDERED that the Receiver is directed and authorized to
19
     accomplish the following:
20
            A.      Assume full control of Receivership Entities by removing, as the Receiver deems
21
     necessary or advisable, any director, officer, independent contractor, employee, attorney, or
22
     agent of any Receivership Entity from control of, management of, or participation in, the affairs
23

24   of the Receivership Entity;

25          B.      Take exclusive custody, control, and possession of all Assets and Documents of,
26   or in the possession, custody, or under the control of, any Receivership Entity, wherever situated;
27

28


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 1          C.      Conserve, hold, manage, and prevent the loss of all Assets of the Receivership
 2   Entities, and perform all acts necessary or advisable to preserve the value of those Assets. The
 3
     Receiver shall assume control over the income and profits therefrom and all sums of money now
 4
     or hereafter due or owing to the Receivership Entities. The Receiver shall have full power to sue
 5
     for, collect, and receive, all Assets of the Receivership Entities and of other persons or entities
 6

 7   whose interests are now under the direction, possession, custody, or control of, the Receivership

 8   Entities. Provided, however, that the Receiver shall not attempt to collect any amount from a

 9   consumer if the Receiver believes the consumer’s debt to the Receivership Entities has resulted
10   from the deceptive acts or practices or other violations of law alleged in the Complaint in this
11
     matter, without prior Court approval;
12
            D.      Obtain, conserve, hold, manage, and prevent the loss of all Documents of the
13
     Receivership Entities, and perform all acts necessary or advisable to preserve such Documents.
14

15   The Receiver shall: divert mail; preserve all Documents of the Receivership Entities that are

16   accessible via electronic means (such as online access to financial accounts and access to

17   electronic documents held onsite or by Electronic Data Hosts), by changing usernames,
18
     passwords or other log-in credentials; take possession of all electronic Documents of the
19
     Receivership Entities stored onsite or remotely; take whatever steps necessary to preserve all
20
     such Documents; and obtain the assistance of the FTC’s Digital Forensic Unit for the purpose of
21
     obtaining electronic documents stored onsite or remotely.
22

23          E.      Choose, engage, and employ attorneys, accountants, appraisers, and other

24   independent contractors and technical specialists, as the Receiver deems advisable or necessary
25   in the performance of duties and responsibilities under the authority granted by this Order;
26

27

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 1          F.      Make payments and disbursements from the receivership estate that are necessary
 2   or advisable for carrying out the directions of, or exercising the authority granted by, this Order,
 3
     and to incur, or authorize the making of, such agreements as may be necessary and advisable in
 4
     discharging his or her duties as Receiver. The Receiver shall apply to the Court for prior
 5
     approval of any payment of any debt or obligation incurred by the Receivership Entities prior to
 6

 7   July 25, 2017, except payments that the Receiver deems necessary or advisable to secure Assets

 8   of the Receivership Entities, such as rental payments.

 9          G.      Take all steps necessary to secure and take exclusive custody of each location
10   from which the Receivership Entities operate their businesses. Such steps may include, but are
11
     not limited to, any of the following, as the Receiver deems necessary or advisable: (1) securing
12
     the location by changing the locks and alarm codes and disconnecting any internet access or
13
     other means of access to the computers, servers, internal networks, or other records maintained at
14

15   that location; and (2) requiring any persons present at the location to leave the premises, to

16   provide the Receiver with proof of identification, and/or to demonstrate to the satisfaction of the

17   Receiver that such persons are not removing from the premises Documents or Assets of the
18
     Receivership Entities;
19
            H.      Take all steps necessary to prevent the modification, destruction, or erasure of any
20
     web page or website registered to and operated, in whole or in part, by any Defendants, and to
21
     provide access to all such web page or websites to Plaintiff’s representatives, agents, and
22

23   assistants, as well as Defendants and their representatives;

24          I.      Enter into and cancel contracts and purchase insurance as advisable or necessary;
25          J.      Verify the nature and extent of, and obtain as the Receiver deems necessary or
26
     appropriate for the preservation of Assets, insurance coverage; provided however, there may be a
27

28


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 1   gap of time before such insurance may be in place to properly protect the Assets and any
 2   employees of the receivership estate; and the Receiver has no responsibility or liability until such
 3
     time as the Receiver has notified the Court by filing a notice that insurance is in place. In
 4
     connection therewith, the Receiver is hereby authorized to engage insurance brokers and
 5
     consultants as necessary to properly insure the Assets;
 6

 7              K.   Prevent the inequitable distribution of Assets and determine, adjust, and protect

 8   the interests of consumers who have transacted business with the Receivership Entities;

 9              L.   Make an accounting, as soon as practicable, of the Assets and financial condition
10   of the receivership and file the accounting with the Court and deliver copies thereof to all parties;
11
                M.   Institute, compromise, adjust, appear in, intervene in, defend, dispose of, or
12
     otherwise become party to any legal action in state, federal or foreign courts or arbitration
13
     proceedings as the Receiver deems necessary and advisable to preserve or recover the Assets of
14

15   the Receivership Entities, or to carry out the Receiver’s mandate under this Order, including but

16   not limited to, actions challenging fraudulent or voidable transfers;

17              N.   Issue subpoenas to obtain Documents and records pertaining to the Receivership,
18
     and conduct discovery in this action on behalf of the receivership estate, in addition to obtaining
19
     other discovery as set forth in this Order;
20
                O.   Open one or more bank accounts at designated depositories for funds of the
21
     Receivership Entities. The Receiver shall deposit all funds of the Receivership Entities in such
22

23   designated accounts and shall make all payments and disbursements from the receivership estate

24   from such accounts. The Receiver shall serve copies of monthly account statements on all
25   parties;
26

27

28


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 1          P.      Open all mail directed to or received by or at the premises, or post office or
 2   private or commercial mail boxes of the Receivership Entities, and inspect all mail opened prior
 3
     to July 25, 2017, to determine whether items or information therein fall within the mandates of
 4
     this Order. In connection therewith, the Receiver is authorized to instruct the United States
 5
     Postmaster and anyone in possession or control of a private or commercial mailbox to hold
 6

 7   and/or reroute mail directed to any of the Receivership Entities. The Receivership Entities are

 8   directed not to open a new mailbox or take any steps or make any arrangements to receive mail

 9   in contravention of this Order, whether through the United States mail, a private mail depository,
10   or courier service;
11
            Q.      Maintain accurate records of all receipts and expenditures incurred as Receiver;
12
            R.      Allow the Plaintiff’s representatives, agents, and assistants, as well as
13
     Defendants’ representatives and Defendants themselves, reasonable access to the premises of the
14

15   Receivership Entities, or any other premises where the Receivership Entities conduct business.

16   The purpose of this access shall be to inspect and copy any and all books, records, Documents,

17   accounts, and other property owned by, or in the possession of, the Receivership Entities or their
18
     agents. The Receiver shall have the discretion to determine the time, manner, and reasonable
19
     conditions of such access. Plaintiff’s access to the Receivership Entities’ premises pursuant to
20
     this Section shall not provide grounds for any Defendant to object to any subsequent request for
21
     documents served by Plaintiff;
22

23          S.      Allow the Plaintiff’s representatives, agents, and assistants, as well as Defendants

24   and their representatives reasonable access to all Documents in the possession, custody, or
25   control of the Receivership Entities. Plaintiff’s access to the Receivership Entities’ Documents
26

27

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 1   pursuant to this Section shall not provide grounds for any Defendant to object to any subsequent
 2   request for documents served by Plaintiff;
 3
            T.      Cooperate with reasonable requests for information or assistance from any state or
 4
     federal civil or criminal law enforcement agency;
 5
            U.      Suspend business operations of the Receivership Entities if in the judgment of the
 6

 7   Receiver such operations cannot be continued legally and profitably;

 8          V.      If the Receiver identifies a nonparty entity as a Receivership Entity, promptly

 9   notify the entity as well as the parties, and inform the entity that it can challenge the Receiver’s
10   determination by filing a motion with the Court. Provided, however, that the Receiver may delay
11
     providing such notice until the Receiver has established control of the nonparty entity and its
12
     Assets and records, if the Receiver determines that notice to the entity or the parties before the
13
     Receiver establishes control over the entity may result in the destruction of records, dissipation
14

15   of Assets, or any other obstruction of the Receiver’s control of the entity; and

16          W.      If in the Receiver’s judgment the business operations cannot be continued legally

17   and profitably, take all steps necessary to ensure that any of the Receivership Entities’ web pages
18
     or websites relating to the activities alleged in the Complaint cannot be accessed by the public, or
19
     are modified for consumer education and/or informational purposes, and take all steps necessary
20
     to ensure that any telephone numbers associated with the Receivership Entities cannot be
21
     accessed by the public, or are answered solely to provide consumer education or information
22

23   regarding the status of operations.

24                                   XV.     RECEIVER’S REPORTS
25          IT IS FURTHER ORDERED that the Receiver must:
26          A.      File a verified report with the Court by October 28, 2017, and every six (6)
27
     months following that report, to include the following information:
28


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 1                    1.     A summary of the Receiver’s operations;
 2                    2.     An inventory of the assets and their appraised value;
 3
                      3.     A schedule of all the Receiver’s receipts and disbursements;
 4
                      4.     A list of all known creditors with their addresses and the amounts of their
 5
            claims;
 6

 7                    5.     The steps the Receiver intends to take in the future to protect receivership

 8          Assets, recover receivership Assets from third parties, and adjust receivership liabilities;

 9                    6.     The Receiver’s recommendation for a continuation or discontinuation of
10          the Receivership, or for changes to the Receivership, and the reasons for the
11
            recommendations; and
12
                      7.     Any other matters which the Receiver believes should be brought to the
13
            Court’s attention.
14

15               XVI. TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER

16          IT IS FURTHER ORDERED that Defendants and any other person with possession,

17   custody, or control of property of, or records relating to, the Receivership Entities shall, upon
18   notice of this Order by personal service or otherwise, fully cooperate with and assist the Receiver
19
     in taking and maintaining possession, custody, or control of the Assets and Documents of the
20
     Receivership Entities and immediately transfer or deliver to the Receiver possession, custody,
21
     and control of, the following:
22

23          A.        All Assets held by or for the benefit of the Receivership Entities;

24          B.        All Documents of or pertaining to the Receivership Entities;

25          C.        All computers, electronic devices, mobile devices and machines used to conduct
26   the business of the Receivership Entities;
27

28


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 1          D.      All Assets and Documents belonging to other persons or entities whose interests
 2   are under the direction, possession, custody, or control of the Receivership Entities;
 3
            E.      All available insurance information for both existing and prior insurance policies.
 4
     This includes all applications, policies, riders, correspondence, endorsements, claims and other
 5
     information. The Receivership Entities are ordered to : (1) advise the insurance agent(s) of this
 6

 7   Order in writing; (2) designate all authority over the policies to be held by the Receiver pursuant

 8   to this Order; and (3) take no action with regarding to terminating or modifying existing

 9   insurance policies; and
10          F.      All keys, codes, user names and passwords necessary to gain or to secure access
11
     to any Assets or Documents of or pertaining to the Receivership Entities, including access to
12
     their business premises, means of communication, accounts, computer systems (onsite and
13
     remote), Electronic Data Hosts, or other property.
14

15          In the event that any person or entity fails to deliver or transfer any Asset or Document,

16   or otherwise fails to comply with any provision of this Section, the Receiver may file an

17   Affidavit of Non-Compliance regarding the failure and a motion seeking compliance or a
18
     contempt citation.
19
                      XVII. PROVISION OF INFORMATION TO RECEIVER
20
            IT IS FURTHER ORDERED that, to the extent not already completed pursuant to the
21
     TRO, Defendants shall immediately provide to the Receiver:
22

23          A.      A list of all Assets and accounts of the Receivership Entities that are held in any

24   name other than the name of a Receivership Entity, or by any person or entity other than a

25   Receivership Entity;
26

27

28


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 1          B.      A list of all agents, employees, officers, attorneys, servants and those persons in
 2   active concert and participation with the Receivership Entities, or who have been associated or
 3
     done business with the Receivership Entities; and
 4
            C.      A description of any documents covered by attorney-client privilege or attorney
 5
     work product, including files where such documents are likely to be located, authors or recipients
 6

 7   of such documents, and search terms likely to identify such electronic documents.

 8                     XVIII.          COOPERATION WITH THE RECEIVER

 9          IT IS FURTHER ORDERED that Defendants; Receivership Entities; Defendants’ or

10   Receivership Entities’ officers, agents, employees, and attorneys, all other persons in active
11
     concert or participation with any of them, and any other person with possession, custody, or
12
     control of property of or records relating to the Receivership Entities who receive actual notice
13
     of this Order shall fully cooperate with and assist the Receiver.
14
            A.      This cooperation and assistance shall include, but is not limited to, providing
15

16   information to the Receiver that the Receiver deems necessary to exercise the authority and

17   discharge the responsibilities of the Receiver under this Order; providing any keys, codes, user
18   names and passwords required to access any computers, electronic devices, mobile devices, and
19
     machines (onsite or remotely) and any cloud account (including specific method to access
20
     account) or electronic file in any medium; advising all persons who owe money to any
21
     Receivership Entity that all debts should be paid directly to the Receiver; and transferring funds
22

23   at the Receiver’s direction and producing records related to the Assets and sales of the

24   Receivership Entities.

25          B.      If any Documents, computers, or electronic storage devices containing
26   information related to the business practices or finances of the Receivership Entities are at a
27
     location other than those listed herein, including personal residence(s) of any Defendant, then,
28


                                                      28
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 1   immediately upon receiving notice of this order, Defendants and Receivership Entities shall
 2   produce to the Receiver all such Documents, computers, and electronic storage devices, along
 3
     with any codes or passwords needed for access. In order to prevent the destruction of computer
 4
     data, upon service of this Order, any such computers or electronic storage devices shall be
 5
     powered down in the normal course of the operating system used on such devices and shall not
 6

 7   be powered up or used until produced for copying and inspection; and

 8           C.      If any communications or records of any Receivership Entity are stored with an

 9   Electronic Data Host, such Entity shall, immediately upon receiving notice of this order, provide
10   the Receiver with the username, passwords, and any other login credential needed to access the
11
     communications and records, and shall not attempt to access, or cause a third-party to attempt to
12
     access, the communications or records.
13
                        XIX. NON-INTERFERENCE WITH THE RECEIVER
14
             IT IS FURTHER ORDERED that Defendants; Receivership Entities; Defendants’ or
15

16   Receivership Entities’ officers, agents, employees, attorneys, and all other persons in active

17   concert or participation with any of them, who receive actual notice of this Order; and any other
18   person served with a copy of this Order, are hereby preliminarily restrained and enjoined from
19
     directly or indirectly:
20
             A.      Interfering with the Receiver’s efforts to manage, or take custody, control, or
21
     possession of, the Assets or Documents subject to the receivership;
22

23           B.      Transacting any of the business of the Receivership Entities;

24           C.      Transferring, receiving, altering, selling, encumbering, pledging, assigning,

25   liquidating, or otherwise disposing of any Assets owned, controlled, or in the possession or
26   custody of, or in which an interest is held or claimed by, the Receivership Entities; or
27

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 1           D.      Refusing to cooperate with the Receiver or the Receiver’s duly authorized agents
 2   in the exercise of their duties or authority under any order of this Court.
 3
                                         XX.     STAY OF ACTIONS
 4
             IT IS FURTHER ORDERED that, except by leave of this Court, during the pendency
 5
     of the receivership ordered herein, Defendants, Defendants’ officers, agents, employees,
 6
     attorneys, and all other persons in active concert or participation with any of them, who receive
 7

 8   actual notice of this Order, and their corporations, subsidiaries, divisions, or affiliates, and all

 9   investors, creditors, stockholders, lessors, customers and other persons seeking to establish or

10   enforce any claim, right, or interest against or on behalf of Defendants, and all others acting for
11
     or on behalf of such persons, are hereby enjoined from taking action that would interfere with the
12
     exclusive jurisdiction of this Court over the Assets or Documents of the Receivership Entities,
13
     including, but not limited to:
14
             A.      Filing or assisting in the filing of a petition for relief under the Bankruptcy Code,
15

16   11 U.S.C. § 101 et seq., or of any similar insolvency proceeding on behalf of the Receivership

17   Entities;
18           B.      Commencing, prosecuting, or continuing a judicial, administrative, or other action
19
     or proceeding against the Receivership Entities, including the issuance or employment of process
20
     against the Receivership Entities, except that such actions may be commenced if necessary to toll
21
     any applicable statute of limitations;
22

23           C.      Filing or enforcing any lien on any Asset of the Receivership Entities, taking or

24   attempting to take possession, custody, or control of any Asset of the Receivership Entities; or

25   attempting to foreclose, forfeit, alter, or terminate any interest in any Asset of the Receivership
26   Entities, whether such acts are part of a judicial proceeding, are acts of self-help, or otherwise;
27

28


                                                       30
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 1          D.      Provided, however, that this Order does not stay: (1) the commencement or
 2   continuation of a criminal action or proceeding; (2) the commencement or continuation of an
 3
     action or proceeding by a governmental unit to enforce such governmental unit’s police or
 4
     regulatory power; or (3) the enforcement of a judgment, other than a money judgment, obtained
 5
     in an action or proceeding by a governmental unit to enforce such governmental unit’s police or
 6

 7   regulatory power.

 8                             XXI. COMPENSATION OF RECEIVER

 9          IT IS FURTHER ORDERED that the Receiver and all personnel hired by the Receiver

10   as herein authorized, including counsel to the Receiver and accountants, are entitled to
11
     reasonable compensation for the performance of duties pursuant to this Order and for the cost of
12
     actual out-of-pocket expenses incurred by them, from the Assets now held by, in the possession
13
     or control of, or which may be received by, the Receivership Entities. The Receiver shall file
14
     with the Court and serve on the parties requests for the payment of such reasonable
15

16   compensation at the time of the filing of any report required by Section XV of this Order. The

17   Receiver shall not increase the hourly rates used as the bases for such fee applications without
18   prior approval of the Court.
19
                         XXII. DISTRIBUTION OF ORDER BY DEFENDANTS
20
            IT IS FURTHER ORDERED that, to the extent not already completed pursuant to the
21
     TRO, Defendants shall immediately provide a copy of this Order to each affiliate, telemarketer,
22
     marketer, sales entity, successor, assign, member, officer, director, employee, agent, independent
23

24   contractor, client, attorney, spouse, subsidiary, division, and representative of any Defendant,

25   and shall thereafter immediately provide Plaintiff and the Receiver with a sworn statement that
26   this provision of the Order has been satisfied, which statement shall include the names, physical
27
     addresses, phone numbers, and email addresses of each such person or entity who received a
28


                                                     31
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 1   copy of the Order. Furthermore, Defendants shall not take any action that would encourage
 2   officers, agents, members, directors, employees, salespersons, independent contractors,
 3
     attorneys, subsidiaries, affiliates, successors, assigns or other persons or entities in active concert
 4
     or participation with them to disregard this Order or believe that they are not bound by its
 5
     provisions.
 6

 7                                  XXIII. SERVICE OF THIS ORDER

 8           IT IS FURTHER ORDERED that copies of this Order may be served by any means,

 9   including facsimile transmission, electronic mail or other electronic messaging, personal or

10   overnight delivery, U.S. Mail or FedEx, by agents and employees of Plaintiff, by any law
11
     enforcement agency, or by private process server, upon any Defendant or any Person (including
12
     any financial institution) that may have possession, custody, or control of any Asset or Document
13
     of any Defendant, or that may be subject to any provision of this Order pursuant to Rule 65(d)(2)
14
     of the Federal Rules of Civil Procedure. For purposes of this Section, service upon any branch,
15

16   subsidiary, affiliate or office of any entity shall effect service upon the entire entity.

17                  XXIV. CORRESPONDENCE AND SERVICE ON PLAINTIFF
18           IT IS FURTHER ORDERED that, for the purpose of this Order, all correspondence
19
     and service of pleadings on Plaintiff shall be addressed to:
20
                     Sarah Waldrop
21                   Michelle Schaefer
                     Mailstop CC-9528
22                   600 Pennsylvania Ave., NW
                     Washington, DC 20580
23
                     202-326-3444
24                   202-326-3197 (fax)
                     swaldrop@ftc.gov
25                   mschaefer@ftc.gov
26

27

28


                                                        32
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 1                           XXV. RETENTION OF JURISDICTION
 2          IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter for
 3   all purposes.
 4
            IT IS SO ORDERED, this 1st day of September, 2017.
 5

 6

 7
                                               ____________________________________________
 8
                                               ANDREW P. GORDON
 9                                             UNITED STATES DISTRICT JUDGE

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              Proposed TRO Attachment A
         Individual Financial Disclosure Form
              Case 2:17-cv-02000-APG-GWF Document 56 Filed 09/01/17 Page 35 of 63
                                              FEDERAL TRADE COMMISSION

                                 FINANCIAL STATEMENT OF INDIVIDUAL DEFENDANT

Definitions and Instructions:

    1. Complete all items. Enter “None” or “N/A” (“Not Applicable”) in the first field only of any item that does not apply
       to you. If you cannot fully answer a question, explain why.

    2. “Dependents” include your spouse, live-in companion, dependent children, or any other person, whom you or your
       spouse (or your children’s other parent) claimed or could have claimed as a dependent for tax purposes at any
       time during the past five years.

    3. “Assets” and “Liabilities” include ALL assets and liabilities, located within the United States or any foreign country
       or territory, whether held individually or jointly and whether held by you, your spouse, or your dependents, or held
       by others for the benefit of you, your spouse, or your dependents.

    4. Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
       being continued. On the continuation page(s), identify the Item number(s) being continued.

    5. Type or print legibly.

    6. Initial each page in the space provided in the lower right corner.

    7. Sign and date the completed financial statement on the last page.


Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

        (1) “in any matter within the jurisdiction of the executive, legislative, or judicial branch of the Government of the
United States, knowingly and willfully falsifies, conceals or covers up by any trick, scheme, or devise a material fact;
makes any materially false, fictitious or fraudulent statement or representation; or makes or uses any false writing or
document knowing the same to contain any materially false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);

          (2) “in any . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
willfully subscribes as true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or

        (3) “in any ( . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States
Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any false
material declaration or makes or uses any other information . . . knowing the same to contain any false material
declaration” (18 U.S.C. § 1623).

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross
loss. 18 U.S.C. § 3571.




                                                                     Federal Trade Commission Financial Statement of Individual Defendant
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                                                    BACKGROUND INFORMATION
Item 1. Information About You
Full Name                                                                   Social Security No.

Current Address of Primary Residence                                        Driver’s License No.                                            State Issued

                                                                            Phone Numbers                    Date of Birth:   /   /
                                                                            Home: (   )                                    (mm/dd/yyyy)
                                                                            Fax: (    )                      Place of Birth

   Rent      Own             From (Date):      /   /                        E-Mail Address
                                            (mm/dd/yyyy)
Internet Home Page


Previous Addresses for past five years (if required, use additional pages at end of form)
Address                                                                                              From:      /   /              Until:      /   /
                                                                                                             (mm/dd/yyyy)                   (mm/dd/yyyy)

                                                                                                         Rent        Own
Address                                                                                              From:       /    /           Until:      /   /


                                                                                                         Rent        Own
Address                                                                                              From:       /    /           Until:      /   /


                                                                                                         Rent        Own
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they
were used:


Item 2. Information About Your Spouse or Live-In Companion
Spouse/Companion's Name                                                     Social Security No.                  Date of Birth
                                                                                                                    /   /
                                                                                                                 (mm/dd/yyyy)
Address (if different from yours)                                           Phone Number                         Place of Birth
                                                                            (     )
                                                                                Rent    Own               From (Date):   /   /
                                                                                                                      (mm/dd/yyyy)
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they were used:


Employer’s Name and Address                                                 Job Title

                                                                            Years in Present Job     Annual Gross Salary/Wages
                                                                                                     $


Item 3. Information About Your Previous Spouse
Name and Address                                                                                     Social Security No.

                                                                                                     Date of Birth
                                                                                                        /    /
                                                                                                     (mm/dd/yyyy)

Item 4. Contact Information (name and address of closest living relative other than your spouse)
Name and Address                                                                                     Phone Number
                                                                                                     (     )




                                                                                                                                               Initials:

                                                                  1 of 10        Federal Trade Commission Financial Statement of Individual Defendant
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Item 5. Information About Dependents (whether or not they reside with you)
Name and Address                                                               Social Security No.                   Date of Birth
                                                                                                                        /    /
                                                                                                                     (mm/dd/yyyy)
                                                                               Relationship

Name and Address                                                               Social Security No.                   Date of Birth
                                                                                                                        /    /
                                                                                                                     (mm/dd/yyyy)
                                                                               Relationship


Name and Address                                                                                                         Date of Birth
                                                                               Social Security No.
                                                                                                                            /    /
                                                                                                                         (mm/dd/yyyy)
                                                                               Relationship


Name and Address                                                                                                         Date of Birth
                                                                               Social Security No.
                                                                                                                            /    /
                                                                                                                         (mm/dd/yyyy)
                                                                               Relationship


Item 6. Employment Information/Employment Income
Provide the following information for this year-to-date and for each of the previous five full years, for each business entity of which you were a director,
officer, member, partner, employee (including self-employment), agent, owner, shareholder, contractor, participant or consultant at any time during that
period. “Income” includes, but is not limited to, any salary, commissions, distributions, draws, consulting fees, loans, loan payments, dividends,
royalties, and benefits for which you did not pay (e.g., health insurance premiums, automobile lease or loan payments) received by you or anyone else
on your behalf.
Company Name and Address                                                           Dates Employed                   Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /               20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $
Company Name and Address                                                           Dates Employed                   Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /
                                                                                                                    20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $
Company Name and Address                                                           Dates Employed                   Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /               20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $



                                                                                                                                           Initials:

                                                                    2 of 10        Federal Trade Commission Financial Statement of Individual Defendant
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Item 7. Pending Lawsuits Filed By or Against You or Your Spouse
List all pending lawsuits that have been filed by or against you or your spouse in any court or before an administrative agency in the United States or in
any foreign country or territory. Note: At Item 12, list lawsuits that resulted in final judgments or settlements in your favor. At Item 21, list lawsuits that
resulted in final judgments or settlements against you.
                                                                                                     Nature of                                        Status or
        Caption of Proceeding              Court or Agency and Location           Case No.                                 Relief Requested
                                                                                                    Proceeding                                       Disposition




Item 8. Safe Deposit Boxes
List all safe deposit boxes, located within the United States or in any foreign country or territory, whether held individually or jointly and whether held by
you, your spouse, or any of your dependents, or held by others for the benefit of you, your spouse, or any of your dependents.
         Name of Owner(s)                         Name & Address of Depository Institution                    Box No.                      Contents




                                                                                                                                              Initials:

                                                                      3 of 10      Federal Trade Commission Financial Statement of Individual Defendant
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                                                         FINANCIAL INFORMATION
REMINDER: When an item asks for information regarding your “assets” and “liabilities” include ALL assets and liabilities, located within
the United States or in any foreign country or territory, or institution, whether held individually or jointly, and whether held by you, your
spouse, or any of your dependents, or held by others for the benefit of you, your spouse, or any of your dependents. In addition, provide
all documents requested in Item 24 with your completed Financial Statement.
                                                                         ASSETS
Item 9. Cash, Bank, and Money Market Accounts
List cash on hand (as opposed to cash in bank accounts or other financial accounts) and all bank accounts, money market accounts, or other financial
accounts, including but not limited to checking accounts, savings accounts, and certificates of deposit. The term “cash on hand” includes but is not
limited to cash in the form of currency, uncashed checks, and money orders.

   a. Amount of Cash on Hand $                                              Form of Cash on Hand

   b. Name on Account                          Name & Address of Financial Institution                         Account No.                     Current Balance

                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




Item 10. Publicly Traded Securities
List all publicly traded securities, including but not limited to, stocks, stock options, corporate bonds, mutual funds, U.S. government securities (including
but not limited to treasury bills and treasury notes), and state and municipal bonds. Also list any U.S. savings bonds.
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned


Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned

Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned

Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $




                                                                                                                                               Initials:

                                                                     4 of 10      Federal Trade Commission Financial Statement of Individual Defendant
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Item 11. Non-Public Business and Financial Interests
List all non-public business and financial interests, including but not limited to any interest in a non-public corporation, subchapter-S corporation, limited
liability corporation (“LLC”), general or limited partnership, joint venture, sole proprietorship, international business corporation or personal investment
corporation, and oil or mineral lease.
                                                        Type of Business or Financial               Owner              Ownership     If Officer, Director, Member
            Entity’s Name & Address
                                                       Interest (e.g., LLC, partnership)     (e.g., self, spouse)         %             or Partner, Exact Title




Item 12. Amounts Owed to You, Your Spouse, or Your Dependents
Debtor’s Name & Address                                  Date Obligation          Original Amount Owed         Nature of Obligation (if the result of a final court
                                                      Incurred (Month/Year)      $                             judgment or settlement, provide court name
                                                                /                                              and docket number)
                                                      Current Amount Owed        Payment Schedule
                                                      $                          $
Debtor’s Telephone                                    Debtor’s Relationship to You


Debtor’s Name & Address                                   Date Obligation          Original Amount Owed        Nature of Obligation (if the result of a final court
                                                       Incurred (Month/Year)       $                           judgment or settlement, provide court name
                                                                 /                                             and docket number)
                                                      Current Amount Owed          Payment Schedule
                                                      $                            $
Debtor’s Telephone                                    Debtor’s Relationship to You


Item 13. Life Insurance Policies
List all life insurance policies (including endowment policies) with any cash surrender value.
Insurance Company’s Name, Address, & Telephone No.                    Beneficiary                                   Policy No.             Face Value
                                                                                                                                           $
                                                                     Insured                                        Loans Against Policy   Surrender Value
                                                                                                                    $                      $

Insurance Company’s Name, Address, & Telephone No.                   Beneficiary                                    Policy No.             Face Value
                                                                                                                                           $
                                                                     Insured                                        Loans Against Policy   Surrender Value
                                                                                                                    $                      $

Item 14. Deferred Income Arrangements
List all deferred income arrangements, including but not limited to, deferred annuities, pensions plans, profit-sharing plans, 401(k) plans, IRAs, Keoghs,
other retirement accounts, and college savings plans (e.g., 529 Plans).
Trustee or Administrator’s Name, Address & Telephone No.                           Name on Account                               Account No.


                                                                                   Date Established      Type of Plan              Surrender Value before
                                                                                     /    /                                        Taxes and Penalties
                                                                                   (mm/dd/yyyy)                                    $
Trustee or Administrator’s Name, Address & Telephone No.                           Name on Account                               Account No.

                                                                                   Date Established      Type of Plan              Surrender Value before
                                                                                     /    /                                        Taxes and Penalties
                                                                                                                                   $



                                                                                                                                               Initials:

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                 Case 2:17-cv-02000-APG-GWF Document 56 Filed 09/01/17 Page 41 of 63
Item 15. Pending Insurance Payments or Inheritances
List any pending insurance payments or inheritances owed to you.
Type                                                                                                      Amount Expected     Date Expected (mm/dd/yyyy)
                                                                                                      $                           /     /
                                                                                                      $                           /     /
                                                                                                      $                           /     /

Item 16. Vehicles
List all cars, trucks, motorcycles, boats, airplanes, and other vehicles.
Vehicle Type        Year            Registered Owner’s Name             Purchase Price                     Original Loan Amount       Current Balance
                                                                        $                                  $                          $
Make                                Registration State & No.            Account/Loan No.                   Current Value              Monthly Payment
                                                                                                           $                          $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price                     Original Loan Amount       Current Balance
                                                                        $                                  $                          $
Make                                Registration State & No.            Account/Loan No.                   Current Value              Monthly Payment
                                                                                                           $                          $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price              Original Loan Amount          Current Balance
                                                                        $                           $                             $
Make                                Registration State & No.            Account/Loan No.            Current Value                 Monthly Payment
                                                                                                    $                             $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price              Original Loan Amount          Current Balance
                                                                        $                           $                             $
Make                                Registration State & No.            Account/Loan No.            Current Value                 Monthly Payment
                                                                                                    $                             $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Item 17. Other Personal Property
List all other personal property not listed in Items 9-16 by category, whether held for personal use, investment or any other reason, including but not
limited to coins, stamps, artwork, gemstones, jewelry, bullion, other collectibles, copyrights, patents, and other intellectual property.

   Property Category
                                      Name of Owner                             Property Location                   Acquisition Cost             Current Value
 (e.g., artwork, jewelry)

                                                                                                                   $                        $


                                                                                                                   $                        $


                                                                                                                   $                        $




                                                                                                                                                Initials:

                                                                      6 of 10    Federal Trade Commission Financial Statement of Individual Defendant
                  Case 2:17-cv-02000-APG-GWF Document 56 Filed 09/01/17 Page 42 of 63
Item 18. Real Property
List all real property interests (including any land contract)
Property’s Location                          Type of Property                    Name(s) on Title or Contract and Ownership Percentages




Acquisition Date (mm/dd/yyyy)          Purchase Price                        Current Value                  Basis of Valuation
   /   /                               $                                     $
Lender’s Name and Address                                        Loan or Account No.                        Current Balance On First Mortgage or
                                                                                                            Contract
                                                                                                            $
                                                                                                            Monthly Payment
                                                                                                            $
Other Mortgage Loan(s) (describe)                                    Monthly Payment                           Rental Unit
                                                                     $
                                                                     Current Balance                          Monthly Rent Received
                                                                     $                                        $
Property’s Location                          Type of Property                    Name(s) on Title or Contract and Ownership Percentages




Acquisition Date (mm/dd/yyyy)          Purchase Price                        Current Value                  Basis of Valuation
   /   /                               $                                     $
Lender’s Name and Address                                        Loan or Account No.                        Current Balance On First Mortgage or
                                                                                                            Contract
                                                                                                            $
                                                                                                            Monthly Payment
                                                                                                            $
Other Mortgage Loan(s) (describe)                                    Monthly Payment                           Rental Unit
                                                                     $
                                                                     Current Balance                        Monthly Rent Received
                                                                     $                                      $

                                                                        LIABILITIES
Item 19. Credit Cards
List each credit card account held by you, your spouse, or your dependents, and any other credit cards that you, your spouse, or your dependents use,
whether issued by a United States or foreign financial institution.
 Name of Credit Card (e.g., Visa,
                                                      Account No.                            Name(s) on Account                     Current Balance
 MasterCard, Department Store)
                                                                                                                             $
                                                                                                                             $
                                                                                                                             $
                                                                                                                             $
                                                                                                                             $
Item 20. Taxes Payable
List all taxes, such as income taxes or real estate taxes, owed by you, your spouse, or your dependents.

                           Type of Tax                                            Amount Owed                               Year Incurred
                                                                       $
                                                                       $
                                                                       $




                                                                                                                                       Initials:

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                 Case 2:17-cv-02000-APG-GWF Document 56 Filed 09/01/17 Page 43 of 63
Item 21. Other Amounts Owed by You, Your Spouse, or Your Dependents
List all other amounts, not listed elsewhere in this financial statement, owed by you, your spouse, or your dependents.
Lender/Creditor’s Name, Address, and Telephone No.         Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
                                                           number)


                                                           Lender/Creditor’s Relationship to You



Date Liability Was Incurred         Original Amount Owed                 Current Amount Owed                  Payment Schedule
   /   /
(mm/dd/yyyy)                        $                                    $
Lender/Creditor’s Name, Address, and Telephone No. Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
                                                     number)


                                                           Lender/Creditor’s Relationship to You



Date Liability Was Incurred             Original Amount Owed                     Current Amount Owed                 Payment Schedule
  /    /
(mm/dd/yyyy)                            $                                        $

                                                     OTHER FINANCIAL INFORMATION
Item 22. Trusts and Escrows
List all funds and other assets that are being held in trust or escrow by any person or entity for you, your spouse, or your dependents. Include any legal
retainers being held on your behalf by legal counsel. Also list all funds or other assets that are being held in trust or escrow by you, your spouse, or your
dependents, for any person or entity.
                                                    Date Established
 Trustee or Escrow Agent’s Name & Address                                 Grantor              Beneficiaries               Present Market Value of Assets*
                                                     (mm/dd/yyyy)
                                                      /    /                                                           $




                                                       /    /                                                          $




                                                       /    /                                                          $




*If the market value of any asset is unknown, describe the asset and state its cost, if you know it.

Item 23. Transfers of Assets
List each person or entity to whom you have transferred, in the aggregate, more than $5,000 in funds or other assets during the previous five years by
loan, gift, sale, or other transfer (exclude ordinary and necessary living and business expenses paid to unrelated third parties). For each such person or
entity, state the total amount transferred during that period.
                                                                                                          Transfer Date               Type of Transfer
Transferee’s Name, Address, & Relationship            Property Transferred        Aggregate Value*
                                                                                                          (mm/dd/yyyy)                (e.g., Loan, Gift)
                                                                                  $                        /   /




                                                                                  $                        /   /




                                                                                  $                        /   /



*If the market value of any asset is unknown, describe the asset and state its cost, if you know it.


                                                                                                                                           Initials:

                                                                     8 of 10      Federal Trade Commission Financial Statement of Individual Defendant
                Case 2:17-cv-02000-APG-GWF Document 56 Filed 09/01/17 Page 44 of 63
Item 24. Document Requests
Provide copies of the following documents with your completed Financial Statement.

                Federal tax returns filed during the last three years by or on behalf of you, your spouse, or your dependents.
                All applications for bank loans or other extensions of credit (other than credit cards) that you, your spouse, or your
                dependents have submitted within the last two years, including by obtaining copies from lenders if necessary.
Item 9          For each bank account listed in Item 9, all account statements for the past 3 years.
                For each business entity listed in Item 11, provide (including by causing to be generated from accounting records) the
Item 11         most recent balance sheet, tax return, annual income statement, the most recent year-to-date income statement, and all
                general ledger files from account records.
                All appraisals that have been prepared for any property listed in Item 17, including appraisals done for insurance
Item 17         purposes. You may exclude any category of property where the total appraised value of all property in that category is
                less than $2,000.
Item 18         All appraisals that have been prepared for real property listed in Item 18.
Item 21         Documentation for all debts listed in Item 21.
                All executed documents for any trust or escrow listed in Item 22. Also provide any appraisals, including insurance
Item 22
                appraisals that have been done for any assets held by any such trust or in any such escrow.

                                               SUMMARY FINANCIAL SCHEDULES
Item 25. Combined Balance Sheet for You, Your Spouse, and Your Dependents
Assets                                                                Liabilities
Cash on Hand (Item 9)                                       $         Loans Against Publicly Traded Securities (Item 10)             $
Funds Held in Financial Institutions (Item 9)               $         Vehicles - Liens (Item 16)                                     $
U.S. Government Securities (Item 10)                        $         Real Property – Encumbrances (Item 18)                         $
Publicly Traded Securities (Item 10)                        $         Credit Cards (Item 19)                                         $
Non-Public Business and Financial Interests (Item 11)       $         Taxes Payable (Item 20)                                        $
Amounts Owed to You (Item 12)                               $         Amounts Owed by You (Item 21)                                  $
Life Insurance Policies (Item 13)                           $         Other Liabilities (Itemize)
Deferred Income Arrangements (Item 14)                      $                                                                        $
Vehicles (Item 16)                                          $                                                                        $
Other Personal Property (Item 17)                           $                                                                        $
Real Property (Item 18)                                     $                                                                        $
Other Assets (Itemize)                                                                                                               $
                                                            $                                                                        $
                                                            $                                                                        $
                                                            $                                                                        $
                                        Total Assets        $         Total Liabilities                                              $
Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents
Provide the current monthly income and expenses for you, your spouse, and your dependents. Do not include credit card payments separately; rather,
include credit card expenditures in the appropriate categories.
Income (State source of each item)                                 Expenses
Salary - After Taxes                                               Mortgage or Rental Payments for Residence(s)
                                                        $                                                                                $
Source:
Fees, Commissions, and Royalties                                   Property Taxes for Residence(s)
                                                        $                                                                                $
Source:
Interest                                                           Rental Property Expenses, Including Mortgage Payments, Taxes,
                                                        $          and Insurance                                                         $
Source:
Dividends and Capital Gains                                        Car or Other Vehicle Lease or Loan Payments
                                                        $                                                                                $
Source:
Gross Rental Income                                                Food Expenses
                                                        $                                                                                $
Source:
Profits from Sole Proprietorships                                  Clothing Expenses
                                                        $                                                                                $
Source:
Distributions from Partnerships, S-Corporations,                   Utilities
and LLCs                                                $                                                                                $
Source:


                                                                                                                                    Initials:

                                                                9 of 10        Federal Trade Commission Financial Statement of Individual Defendant
                Case 2:17-cv-02000-APG-GWF Document 56 Filed 09/01/17 Page 45 of 63
Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents (cont.)
Distributions from Trusts and Estates                                Medical Expenses, Including Insurance
                                                      $                                                                                    $
Source:
Distributions from Deferred Income Arrangements                      Other Insurance Premiums
                                                      $                                                                                    $
Source:
Social Security Payments                              $              Other Transportation Expenses                                         $
Alimony/Child Support Received                        $              Other Expenses (Itemize)
Gambling Income                                       $                                                                                    $
Other Income (Itemize)                                                                                                                     $
                                                      $                                                                                    $
                                                      $                                                                                    $
                                                      $                                                                                    $

                                     Total Income     $              Total Expenses                                                        $


                                                                ATTACHMENTS
Item 27. Documents Attached to this Financial Statement
List all documents that are being submitted with this financial statement. For any Item 24 documents that are not attached, explain why.

Item No. Document Relates To                                                            Description of Document




         I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.


Executed on:

_______________                                              ___________________________________
(Date)                                                       Signature




                                                                  10 of 10      Federal Trade Commission Financial Statement of Individual Defendant
Case 2:17-cv-02000-APG-GWF Document 56 Filed 09/01/17 Page 46 of 63




              Proposed TRO Attachment B
            Entity Financial Disclosure Form
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                                           FEDERAL TRADE COMMISSION

                            FINANCIAL STATEMENT OF CORPORATE DEFENDANT



Instructions:

1.      Complete all items. Enter “None” or "N/A" (“Not Applicable”) where appropriate. If you cannot fully answer a
        question, explain why.

2.      The font size within each field will adjust automatically as you type to accommodate longer responses.

3.      In completing this financial statement, “the corporation” refers not only to this corporation but also to each of its
        predecessors that are not named defendants in this action.

4.      When an Item asks for information about assets or liabilities “held by the corporation,” include ALL such assets
        and liabilities, located within the United States or elsewhere, held by the corporation or held by others for the
        benefit of the corporation.

5.      Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
        being continued. On the continuation page(s), identify the Item number being continued.

6.      Type or print legibly.

7.      An officer of the corporation must sign and date the completed financial statement on the last page and initial
        each page in the space provided in the lower right corner.




Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

        (1) “in any matter within the jurisdiction of any department or agency of the United States knowingly and
        willfully falsifies, conceals or covers up by any trick, scheme, or device a material fact, or makes any false,
        fictitious or fraudulent statements or representations, or makes or uses any false writing or document knowing the
        same to contain any false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);

        (2) “in any . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
        willfully subscribes as true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or

        (3) “in any (. . . statement under penalty of perjury as permitted under section 1746 of title 28, United States
        Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any
        false material declaration or makes or uses any other information . . . knowing the same to contain any false
        material declaration.” (18 U.S.C. § 1623)

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross loss.
18 U.S.C. § 3571.
              Case 2:17-cv-02000-APG-GWF Document 56 Filed 09/01/17 Page 48 of 63


                                          BACKGROUND INFORMATION


Item 1.            General Information

Corporation’s Full Name ___________________________________________________________________________

Primary Business Address ______________________________________________________ From (Date) _________

Telephone No. _____________________________ Fax No. _____________________________

E-Mail Address________________________ Internet Home Page________________________

All other current addresses & previous addresses for past five years, including post office boxes and mail drops:

Address____________________________________________________________ From/Until____________________

Address____________________________________________________________ From/Until____________________

Address____________________________________________________________ From/Until____________________

All predecessor companies for past five years:

Name & Address _________________________________________________________ From/Until ______________

Name & Address _________________________________________________________ From/Until ______________

Name & Address _________________________________________________________ From/Until ______________


Item 2.            Legal Information

Federal Taxpayer ID No. _________________________ State & Date of Incorporation _________________________

State Tax ID No. ____________________ State ________________ Profit or Not For Profit _____________________

Corporation’s Present Status: Active ________________ Inactive _______________ Dissolved __________________

If Dissolved: Date dissolved _________________________ By Whom ______________________________________

Reasons _________________________________________________________________________________________

Fiscal Year-End (Mo./Day) ________________ Corporation’s Business Activities _____________________________


Item 3.            Registered Agent

Name of Registered Agent __________________________________________________________________________

Address __________________________________________________________ Telephone No. __________________




          Page 2                                                                          Initials __________
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Item 4.            Principal Stockholders

List all persons and entities that own at least 5% of the corporation’s stock.

                                            Name & Address                                                  % Owned

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________


Item 5.            Board Members

List all members of the corporation’s Board of Directors.

                                   Name & Address                                        % Owned      Term (From/Until)

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________


Item 6.            Officers

List all of the corporation’s officers, including de facto officers (individuals with significant management responsibility
whose titles do not reflect the nature of their positions).

                                            Name & Address                                                  % Owned

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________




          Page 3                                                                            Initials __________
              Case 2:17-cv-02000-APG-GWF Document 56 Filed 09/01/17 Page 50 of 63


Item 7.            Businesses Related to the Corporation

List all corporations, partnerships, and other business entities in which this corporation has an ownership interest.

                                  Name & Address                                        Business Activities        % Owned

___________________________________________________________________ ___________________ _________

___________________________________________________________________ ___________________ _________

___________________________________________________________________ ___________________ _________

State which of these businesses, if any, has ever transacted business with the corporation _______________________

________________________________________________________________________________________________


Item 8.            Businesses Related to Individuals

List all corporations, partnerships, and other business entities in which the corporation’s principal stockholders, board
members, or officers (i.e., the individuals listed in Items 4 - 6 above) have an ownership interest.

 Individual’s Name                       Business Name & Address                         Business Activities       % Owned

__________________ __________________________________________________ __________________ ________

__________________ __________________________________________________ __________________ ________

__________________ __________________________________________________ __________________ ________

State which of these businesses, if any, have ever transacted business with the corporation _______________________

________________________________________________________________________________________________


Item 9.            Related Individuals

List all related individuals with whom the corporation has had any business transactions during the three previous fiscal
years and current fiscal year-to-date. A “related individual” is a spouse, sibling, parent, or child of the principal
stockholders, board members, and officers (i.e., the individuals listed in Items 4 - 6 above).

                            Name and Address                                  Relationship           Business Activities

_________________________________________________________ _________________ ______________________

_________________________________________________________ _________________ ______________________

_________________________________________________________ _________________ ______________________




          Page 4                                                                             Initials __________
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Item 10.          Outside Accountants

List all outside accountants retained by the corporation during the last three years.

           Name                    Firm Name                                  Address                       CPA/PA?

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________


Item 11.          Corporation’s Recordkeeping

List all individuals within the corporation with responsibility for keeping the corporation’s financial books and records for
the last three years.

                              Name, Address, & Telephone Number                                      Position(s) Held

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________


Item 12.          Attorneys

List all attorneys retained by the corporation during the last three years.

           Name                        Firm Name                                        Address

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________




        Page 5                                                                             Initials __________
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Item 13.         Pending Lawsuits Filed by the Corporation

List all pending lawsuits that have been filed by the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments or settlements in favor of the corporation in Item 25).

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________


        Page 6                                                                             Initials __________
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Item 14.         Current Lawsuits Filed Against the Corporation

List all pending lawsuits that have been filed against the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments, settlements, or orders in Items 26 - 27).

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________


        Page 7                                                                             Initials __________
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Item 15.         Bankruptcy Information

List all state insolvency and federal bankruptcy proceedings involving the corporation.

Commencement Date _________________ Termination Date _________________ Docket No. __________________

If State Court: Court & County _______________________ If Federal Court: District __________________________

Disposition ______________________________________________________________________________________


Item 16.                  Safe Deposit Boxes

List all safe deposit boxes, located within the United States or elsewhere, held by the corporation, or held by others for the
benefit of the corporation. On a separate page, describe the contents of each box.

Owner’s Name              Name & Address of Depository Institution                                                   Box No.

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________




                                               FINANCIAL INFORMATION

REMINDER: When an Item asks for information about assets or liabilities “held by the corporation,” include
ALL such assets and liabilities, located within the United States or elsewhere, held by the corporation or held by
others for the benefit of the corporation.

Item 17.         Tax Returns

List all federal and state corporate tax returns filed for the last three complete fiscal years. Attach copies of all returns.

  Federal/       Tax Year      Tax Due        Tax Paid      Tax Due        Tax Paid               Preparer’s Name
 State/Both                    Federal        Federal        State          State

___________ __________ $_________ $_________ $__________ $__________ ______________________________

___________ __________ $_________ $_________ $__________ $__________ ______________________________

___________ __________ $_________ $_________ $__________ $__________ ______________________________




        Page 8                                                                                 Initials __________
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Item 18.         Financial Statements

List all financial statements that were prepared for the corporation’s last three complete fiscal years and for the current
fiscal year-to-date. Attach copies of all statements, providing audited statements if available.

   Year      Balance Sheet     Profit & Loss Statement     Cash Flow Statement Changes in Owner’s Equity Audited?

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

Item 19.         Financial Summary

For each of the last three complete fiscal years and for the current fiscal year-to-date for which the corporation has not
provided a profit and loss statement in accordance with Item 18 above, provide the following summary financial
information.
                             Current Year-to-Date          1 Year Ago              2 Years Ago             3 Years Ago
 Gross Revenue             $_________________         $_______________        $_______________         $_______________
 Expenses                  $_________________         $_______________        $_______________         $_______________
 Net Profit After Taxes    $_________________         $_______________        $_______________         $_______________
 Payables                  $_________________
 Receivables               $_________________

Item 20.         Cash, Bank, and Money Market Accounts

List cash and all bank and money market accounts, including but not limited to, checking accounts, savings accounts, and
certificates of deposit, held by the corporation. The term “cash” includes currency and uncashed checks.

Cash on Hand $_________________________ Cash Held for the Corporation’s Benefit $_______________________

  Name & Address of Financial Institution                Signator(s) on Account             Account No.
                                                                                         Current
                                                                                         Balance
_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________




        Page 9                                                                               Initials __________
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Item 21.          Government Obligations and Publicly Traded Securities

List all U.S. Government obligations, including but not limited to, savings bonds, treasury bills, or treasury notes, held by
the corporation. Also list all publicly traded securities, including but not limited to, stocks, stock options, registered and
bearer bonds, state and municipal bonds, and mutual funds, held by the corporation.

Issuer _________________________________ Type of Security/Obligation __________________________________

No. of Units Owned __________ Current Fair Market Value $__________________ Maturity Date _______________

Issuer _________________________________ Type of Security/Obligation __________________________________

No. of Units Owned __________ Current Fair Market Value $__________________ Maturity Date _______________


Item 22.          Real Estate

List all real estate, including leaseholds in excess of five years, held by the corporation.

Type of Property________________________________ Property’s Location__________________________________

Name(s) on Title and Ownership Percentages___________________________________________________________

Current Value $____________________ Loan or Account No. __________________________

Lender’s Name and Address_________________________________________________________________________

Current Balance On First Mortgage $_______________ Monthly Payment $______________

Other Loan(s) (describe)____________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $_____________



Type of Property________________________________ Property’s Location__________________________________

Name(s) on Title and Ownership Percentages___________________________________________________________

Current Value $____________________ Loan or Account No. __________________________

Lender’s Name and Address_________________________________________________________________________

Current Balance On First Mortgage $_______________ Monthly Payment $______________

Other Loan(s) (describe)____________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $_____________




        Page 10                                                                                Initials __________
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Item 23.          Other Assets

List all other property, by category, with an estimated value of $2,500 or more, held by the corporation, including but not
limited to, inventory, machinery, equipment, furniture, vehicles, customer lists, computer software, patents, and other
intellectual property.

           Property Category                               Property Location                       Acquisition      Current
                                                                                                     Cost           Value

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________


Item 24.          Trusts and Escrows

List all persons and other entities holding funds or other assets that are in escrow or in trust for the corporation.

           Trustee or Escrow Agent’s                      Description and Location of Assets               Present Market
                Name & Address                                                                             Value of Assets

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________




        Page 11                                                                               Initials __________
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Item 25.          Monetary Judgments and Settlements Owed To the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed to the corporation.

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________



Item 26.          Monetary Judgments and Settlements Owed By the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed by the corporation.

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit_______________________________________ Date______________ Amount $______________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________



        Page 12                                                                         Initials __________
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Item 27.          Government Orders and Settlements

List all existing orders and settlements between the corporation and any federal or state government entities.

Name of Agency ___________________________________________ Contact Person __________________________

Address _____________________________________________________________ Telephone No. _______________

Agreement Date ______________ Nature of Agreement __________________________________________________


Item 28.          Credit Cards

List all of the corporation’s credit cards and store charge accounts and the individuals authorized to use them.

           Name of Credit Card or Store                         Names of Authorized Users and Positions Held

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________


Item 29.          Compensation of Employees

List all compensation and other benefits received from the corporation by the five most highly compensated employees,
independent contractors, and consultants (other than those individuals listed in Items 5 and 6 above), for the two previous
fiscal years and current fiscal year-to-date. “Compensation” includes, but is not limited to, salaries, commissions,
consulting fees, bonuses, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits” include,
but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to the
individuals, or paid to others on their behalf.

           Name/Position               Current Fiscal    1 Year Ago     2 Years Ago              Compensation or
                                       Year-to-Date                                              Type of Benefits

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________




        Page 13                                                                            Initials __________
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Item 30.          Compensation of Board Members and Officers

List all compensation and other benefits received from the corporation by each person listed in Items 5 and 6, for the
current fiscal year-to-date and the two previous fiscal years. “Compensation” includes, but is not limited to, salaries,
commissions, consulting fees, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits”
include, but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to
the individuals, or paid to others on their behalf.

           Name/Position               Current Fiscal    1 Year Ago      2 Years Ago             Compensation or
                                       Year-to-Date                                              Type of Benefits

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

Item 31.          Transfers of Assets Including Cash and Property

List all transfers of assets over $2,500 made by the corporation, other than in the ordinary course of business, during the
previous three years, by loan, gift, sale, or other transfer.

 Transferee’s Name, Address, & Relationship           Property           Aggregate       Transfer      Type of Transfer
                                                     Transferred          Value           Date         (e.g., Loan, Gift)


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________




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Item 32.          Documents Attached to the Financial Statement

List all documents that are being submitted with the financial statement.

 Item No. Document       Description of Document
     Relates To

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________




        I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Executed on:

______________________________                    _____________________________________________________
(Date)                                            Signature


                                                  _____________________________________________________
                                                  Corporate Position




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              Proposed TRO Attachment C
         Consent to Release Financial Records
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                              FEDERAL TRADE COMMISSION


                   CONSENT TO RELEASE OF FINANCIAL RECORDS

I, ________________________________, residing at,

_________________________________, in the United States of America, do hereby direct any

bank, trust company, or financial institution, at which I have an account of any kind or at which a

corporation, or natural person has a bank account of any kind upon which I am authorized to

draw, and its officers, employees, and agents, to disclose all information and delivery copies of

all documents of every nature in their possession or control that relate to any such account to an

attorney or representative of the Federal Trade Commission (“FTC”), and to give evidence

relevant thereto, in the matter of the FTC v. RevMountain, et al., before the

United States District Court for the District of Nevada, and this shall be irrevocable

authority for so doing.


       This direction is intended to apply to the laws of countries other than the United States of

America that restrict or prohibit the disclosure of financial information without the consent of the

holder of the account, and shall be construed as consent with respect thereto, and the same shall

apply to any of the accounts for which I may be a relevant principal.


Dated: ____________________________________, 2017

Name (print): ____________________________________, 2017

Signature: ____________________________________
